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                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

   UNITED STATES OF AMERICA,                         )
                                                     )
                 Plaintiff,                          )
                                                     )             NO. 18-CR-02945-WJ
           vs.                                       )
                                                     )
 JANY LEVEILLE,                                      )
 SIRAJ IBN WAHHAJ,                                   )
 HUJRAH WAHHAJ,                                      )
 SUBHANAH WAHHAJ, and                                )
 LUCAS MORTON,                                       )
                                                     )
       Defendants.

      UNITED STATES’ NOTICE OF INTENT NOT TO SEEK DEATH PENALTY

       The United States hereby notifies the Court and all the defendants that the United States

will not seek a sentence of death for all defendants charged with capital-eligible offenses in this

matter: JANY LEVEILLE, HUJRAH WAHHAJ, SUBHANAH WAHHAJ, and LUCAS

MORTON. There are no defendants currently charged in this matter against whom the United

States will seek a sentence of death in this case.

                                                         Respectfully submitted,

                                                         JOHN C. ANDERSON
                                                         United States Attorney

                                                         Electronically filed

                                                         GEORGE C. KRAEHE
                                                         Assistant United States Attorney
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                                   CERTIFICATE OF SERVICE

         I hereby certify that I filed the foregoing document electronically through the CM/ECF
system. Pursuant to the CM/ECF Administrative Procedures Manual, §§ 1(a), 7(b)(2), such
filing is the equivalent of service on parties of record.

                             /s/
GEORGE C. KRAEHE




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